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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

BILLY NORRIS                                        §
Individually and on behalf                          §
of all others similarly situated                    §
                                                    §
       Plaintiffs,                                  §       CIVIL ACTION NO. 6:19-cv-617
                                                    §
v.                                                  §       JURY TRIAL DEMANDED
                                                    §
SHARON BARRINGTON                                   §       COLLECTIVE ACTION
DBA BARRINGTON TRUCKING                             §       PURSUANT TO 29 U.S.C. § 216(b)
                                                    §
       Defendants                                   §



     PLAINTIFF’S ORIGINAL COLLECTIVE ACTION COMPLAINT FOR DAMAGES

       Plaintiff, Billy Norris (“Norris”) or (“Plaintiff”), files this Complaint against Sharon

Barrington dba Barrington Trucking (collectively “Barrington Trucking” or “Defendants” herein)

showing in support as follows:



                                       I.      SUMMARY

       1.       At times relevant, Plaintiff worked for Barrington Trucking performing driving

services on behalf of the company. Plaintiff and the other employees providing driving services were

not paid overtime wages as required by the Fair Labor Standards Act.

            A. FLSA Overtime Claims

       2.       Plaintiff and the putative class members worked in excess of 40 hours per

 workweek, but were not paid time and one-half their respective regular rates of pay for all hours

 worked over 40 in a workweek by any Defendant in this lawsuit.

       3.       Plaintiff brings this case on his own behalf and on behalf of all other drivers who

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 were not properly paid overtime wages. Norris seeks unpaid overtime wages, liquidated damages,

 costs and attorney’s fees under the federal Fair Labor Standards Act, 29 U.S.C. §§ 201-219, and

 the federal Portal-to-Portal Pay Act, 29 U.S.C. §§ 251-262, (collectively “FLSA”) for Defendants’

 failure to pay Plaintiffs time and one-half their respective regular rates of pay for all hours worked

 over 40 during each seven day workweek while working as drivers for Barrington Trucking (the

 “FLSA Overtime Claim”).

       4.         Plaintiff files this FLSA Overtime Claim individually and on behalf of all others

 similarly situated as a FLSA collective action pursuant to 29 U.S.C. § 216(b) against Defendants.

            B. FLSA Minimum Wage Claims

       5.        Norris, on behalf of himself and all others similarly situated, seeks recovery of FLSA

minimum wage damages as a result of the off-the-clock work performed. Norris files this claim as

an FLSA collective action pursuant to 29 U.S.C. § 216(b) against Defendants. (the “FLSA Minimum

Wage Claim”).

            C. Texas State Law Wage Theft Claims

       6.         Furthermore, as an employee under Texas Law, Norris seeks recovery of all straight

time wages owed by Defendants for all hours worked. Alternatively, Norris seeks recovery of all

straight time wages owed by Defendants for the aforementioned Wage Theft under the Texas Law

principles of quantum meruit and/or money had and money received. Norris files his Texas State

Law Claims for the aforementioned Wage Theft individually and as the representative of the

putative class members pursuant to Federal Rule of Civil Procedure 23 (the “Texas State Law Wage

Theft Claim”).




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                       II.      THE PARTIES, JURISDICTION, AND VENUE

         A.       Plaintiff Billy Norris

        7.        Norris is a natural person and is currently a resident of Lindale, Texas. He has

standing to file this lawsuit.

        8.        Norris worked exclusively for Barrington Trucking as an intra-state truck driver

from approximately the end of 2015 until to July 2019 in and around East Texas. Norris was paid

an hourly rate for his work; however, he was not paid overtime wages for all hours worked over 40

in a work week.

         B.       FLSA Collective Action Members

                  1.         FLSA Overtime Claim

        9.        The FLSA Overtime Claim putative collective action members (hereafter the

“FLSA Putative Collective Action Members”) are all current and/or former drivers similarly

situated to Plaintiffs who (a) work/worked more than 40 hours in any workweek in the relevant time

period; and (b) are/were not paid time and one- half their respective regular rates of pay for all hours

worked over 40 in each such workweek by Defendants.

        10.       All of the FLSA Putative Collective Action Members are similarly situated to

Plaintiffs, and to one another, within the meaning of Section 216(b) of the FLSA.

        11.       The time period relevant to the claims of the FLSA Putative Collective Action

Members is three years preceding the date this lawsuit was filed and forward.

                  2.         FLSA Minimum Wage Claim

        12.       The FLSA Minimum Wage Claim putative collective action members (hereafter

the “FLSA Minimum Wage Putative Collective Action Members”) are all current and/or former

misclassified drivers similarly situated to Norris who were not paid all minimum wage owed by
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Defendants due to the number of off-the-clock hours worked.

       13. All of the FLSA Minimum Wage Putative Collective Action Members are similarly

situated to Norris, and to one another, within the meaning of Section 216(b) of the FLSA.

       14. The time period relevant to the claims of the FLSA Wage Theft Putative Collective

Action Members is at least three years prior to the filing of this Complaint.

       C.        Texas State Law Claim Rule 23 Class Members

       15.        The Texas State Law Wage Theft Claim Rule 23 Class Members (hereafter “State

Law Wage Theft Class Members”) are similarly situated workers to Norris who: (a) worked

exclusively for Barrington Trucking as a driver but were not paid for all hours worked for several

workweeks worked in that time period due to Wage Theft by Defendants.

       16.        As employees under Texas Law, Norris and the State Law Wage Theft Class

Members seek recovery of all straight time wages owed by Defendants for the aforementioned

Texas State Law Wage Theft Claim.

       17.        Alternatively, Norris and the State Law Wage Theft Class Members seek recovery

of all straight time wages and other damages owed by Defendants for the Texas State Law Wage

Theft Claim under the Texas Law principles of quantum meruit and/or money had and money

received.

        D.        Defendant Sharon Barrington

       18.        Barrington Trucking is an assumed name for Sharon Barrington.

       19.        During all times relevant to this lawsuit, Barrington Trucking has done business in

the State of Texas. Furthermore, Barrington Trucking employed and continues to employ workers

in East Texas.

       20.        Barrington Trucking’s principal office and principal place of business is located at

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18946 N. Gregory Street, Lindale, Texas 75771.

        21.      At times relevant, Barrington Trucking is and/or was an “employer” and/or “joint

employer” of Plaintiff and the FLSA Putative Collective Action Members.

        22.      At times relevant, Barrington Trucking is and/or was an “employer” and/or “joint

employer” of Norris and the FLSA Minimum Wage Putative Collective Action Members.

        23.      At times relevant, Norris and the State Law Wage Theft Class Members are/were

Texas employees of Barrington Trucking.

        24.      At all times relevant to this lawsuit, Barrington Trucking is and has been an

“enterprise engaged in commerce" as defined by the FLSA.

        25.      At all times relevant to this lawsuit, Barrington Trucking employed, and continues

to employ, two or more employees who engaged in commerce.

        26.      On information and belief, at all times relevant to this lawsuit, Barrington Trucking

has had annual gross sales or business volume in excess of $500,000.

        27.      Sharon Barrington may be served by delivering a summons and a copy of the

compliant to her at 18946 N. Gregory Street, Lindale, Texas 75771.


         E.      Jurisdiction and Venue

        29.      The Court has personal jurisdiction over Defendants based on both general and

specific jurisdiction.

        30.      During all times relevant to this lawsuit, Defendants have done business in the State

of Texas and continue to do business in the State of Texas and in particular in Smith County, Texas.

        31.      The Court has subject matter jurisdiction over this case based on federal question

jurisdiction, 28 U.S.C. § 1331, because Plaintiff bases his claims on federal law, namely the FLSA.

        32.      Venue is proper in the United States District Court for the Eastern District of Texas
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because a substantial part of the events giving rise to Plaintiff’s claims occurred, and continue to

occur, in this judicial district. Furthermore, Barrington Trucking maintains business operations in

this judicial district where Plaintiff performed work.

        33.     Venue is proper in the Tyler Division of the United States District Court for the

Eastern District of Texas because Barrington Trucking maintains business operations in the Tyler

Division and a substantial part of the events giving rise to Plaintiff’s claims occurred, and continue

to occur, in the Tyler Division.

        34.     This Court has supplemental jurisdiction over the Texas State Law Wage Theft

Claim pursuant to 28 U.S.C. § 1367 as the facts relative to that claim form part of the same case or

controversy as the FLSA Wage Theft Claim.

                               III.    FACTUAL BACKGROUND

        35.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        36.     Barrington Trucking is a company offering freight shipping and a trucking

company running freight hauling business. Barrington Trucking has business operations in East

Texas and Gregg County.

        37.     Plaintiff worked for Barrington Trucking as a driver in and around East Texas.

Drivers, such as Plaintiff, have job duties which typically include driving to various locations to

pick up or drop off.

        38.     At times relevant, Plaintiff was paid on an hourly wage basis for work performed

for Barrington Trucking; however, were not paid overtime wages for all hours worked over 40 in

each and every work week.

        39.     Barrington Trucking did make and keep a record of all of the data required by 29

C.F.R. § 516.2(a) in connection with the work performed by Plaintiffs for Barrington Trucking;
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however, Defendants would routinely cut time from Plaintiff’s work record.

       40.      Plaintiff routinely worked in excess of 40 hours in a workweek for Barrington

Trucking. When Plaintiff worked in excess of 40 hours in a workweek, he was not paid

corresponding overtime premium compensation as required by the FLSA by Barrington Trucking.

Plaintiff was also forced to work off the clock for pre-trip and post-trip activities as well as drive

time to and from work locations for Barrington Trucking.

       41.      During the time period relevant to Plaintiff’s FLSA causes of action, Barrington

Trucking had many other workers performing similar work and being paid in similar, if not

identical, fashion to Plaintiff who, like Plaintiff, those workers regularly worked in excess of 40

hours in a workweek, but were not paid time and one-half their respective regular rates of pay by

Barrington Trucking for all hours worked over 40 in each and every such workweek during the

relevant time period.

       42.      In approximately the end of 2015 to July 2019, Norris provided work exclusively

for Barrington Trucking. However, during that time period, Norris was not paid compensation for

off the clock work in many weeks of work provided to Barrington Trucking. During that same

approximate time period, many other drivers also performed off the clock work for Barrington

Trucking, but were not paid compensation for the off the clock work in many weeks of work for

Barrington Trucking.

       43.      Similarly, as of the filing of this lawsuit, Defendant has not paid Norris and the

State Law Wage Theft Class Members the regular wages and other damages they are owed for those

workweeks. Norris and the State Law Wage Theft Class Members performed driving for Barrington

Trucking, and Defendants were aware that driving was performed. Norris and the State Law Wage

Theft Class Members performed that work for Barrington Trucking with the expectation that they

would be paid that work. However, as of the filing of this lawsuit, they have not been paid for that
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work made the subject matter of the Wage Theft Claims. In connection with those Wage Theft

Claims, Defendants have money which in equity and good conscience belongs to Norris and the

State Law Wage Theft Class Members.

                            IV.    CONTROLLING LEGAL RULES

       44.     “Employ” includes to suffer or permit work. 29 U.S.C. § 203(g).

       45.     The FLSA generally requires that an employer employing an employee for a

workweek exceeding 40 hours must compensate the employee for hours worked over 40 “at a rate

not less than one and one-half times the regular rate of pay.” 29 U.S.C. § 207(a)(1). The “regular

rate” includes “all remuneration for employment paid to, or on behalf of, the employee.” 29 U.S.C.

§ 207(e). With a few limited exceptions, all remuneration given to an employee must be included

in the employee’s regular rate calculation. 29 U.S.C. § 207(e); 29 C.F.R. § 778.108; accord Allen

v. Board of Pub. Educ. For Bibb Cty., 495 F. 3d 1306, 1311 (11th Cir. 2007); see also Johnson v.

Big Lots Stores, Inc., 604 F. Supp. 2d 903, 927 (E.D. La. 2009). Failing to pay the required overtime

premium for hours worked over 40 in a workweek is a violation of the FLSA. 29 U.S.C. § 216.

       46.     The FLSA generally requires that an employer shall pay to each of its employees

who in any workweek is engaged in commerce or in the production of goods for commerce or is

employed in an enterprise engaged in commerce or in the production of goods for commerce wages

of not less than $7.25 for each hour worked. 29 U.S.C. § 206(a)(1)(C).

       47.    Failing to pay the required minimum hourly wage is a violation of the FLSA. 29
U.S.C. § 216.


       48.     “[I]t is the duty of the management to exercise its control and see that the work is

not performed if it does not want it to be performed. It cannot sit back and accept the benefits

without compensating for them. The mere promulgation of a rule against such work is not enough.


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Management has the power to enforce the rule and must make every effort to do so.” 29 C.F.R. §

785.13; accord Newton v. City of Henderson, 47 F.3d 746, 748 (5th Cir. 1995) (same).


       49.      Federal law requires employers to make and keep accurate and detailed payroll data

for non-exempt employees. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2. Amongst other things, the

regulations require employers to make and keep payroll records showing data such as the

employee’s name, social security number, occupation, time of day and day of week which the

workweek begins, regular hourly rate of pay for any week in which overtime pay is due, hours

worked each workday and total hours worked each workweek, total daily or weekly straight time

earnings, total premium pay for overtime hours, total wages paid each pay period and date of

payment and pay period covered by the payment, and records of remedial payments. 29 C.F.R. §

516.2(a)&(b). Employers are required to maintain the foregoing data for a minimum of three years.

29 C.F.R. § 516.5.

       50.      Quantum meruit is an equitable remedy based on the promise implied by law to pay

for beneficial services rendered and knowingly accepted. Vortt Exploration Co., Inc. v. Chevron

U.S.A., Inc., 787 S.W.2d 942, 944 (Tex. 1990). To recover under quantum meruit, it must be

established that: (1) valuable services were rendered or materials furnished; (2) for the person sought

to be charged; (3) which services and materials were accepted by the person sought to be charged,

used and enjoyed by him; (4) under such circumstances as reasonably notified the person sought to

be charged that the plaintiff in performing such services was expecting to be paid by the person

sought to be charged. Sanders v. Total Heat & Air, Inc., 248 S.W.3d 907, 917 (Tex. App. Dallas

2008) (citing Vortt, 787 S.W.2d at 944; Bashfara v. Baptist Mem'l Hosp. Sys., 685 S.W.2d 307, 310

(Tex. 1985)).

       51.      “Money had and received is an equitable action that may be maintained to prevent

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unjust enrichment when one person obtains money which in equity and good conscience belongs

to another.” H.E.B., L.L.C. v. Ardinger, 369 S.W.3d 496, 507 (Tex. App. Fort Worth 2012, no pet.

h.) (citing Staats v. Miller, 243 S.W.2d 686, 687 (1951); Everett v. TK-Taito, L.L.C., 178 S.W.3d

844, 860 (Tex. App.—Fort Worth 2005, no pet.); Amoco Prod. Co. v. Smith, 946 S.W.2d 162, 164

(Tex. App.—El Paso 1997, no writ) (stating that cause of action for money had and received belongs

conceptually to doctrine of unjust enrichment)). To succeed in a claim for money had and received,

it must be shown that the defendant holds money or its equivalent that, in equity and good

conscience, belongs to the plaintiff. Best Buy v. Barrera, 248 S.W.3d 160, 162-163 (Tex. 2007) (per

curiam); MGA Ins. Co. v. Charles R. Chesnutt, P.C., 358 S.W.3d 808, 813 (Tex. App.--Dallas 2012,

no pet. h.). The cause of action for money had and received is “less restricted and fettered by

technical rules and formalities than any other form of action. It aims at the abstract justice of the

case, and looks solely to the inquiry, whether the defendant holds money, which … belongs to the

plaintiff.” H.E.B., 369 S.W.3d at 507.

                                 V.      PLAINTIFF’S CLAIMS

          52.   Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

          53.   This action is authorized and instituted pursuant to the FLSA. 29 U.S.C. §§ 201,
et seq.

          54.   All conditions precedent to this suit, if any, have been fulfilled.

          55.   At all times relevant, Plaintiff and the Putative Class Members were employees of

Barrington Trucking, Sharon Barrington pursuant to the FLSA. 29 U.S.C. § 203(e); Wirtz, 405 F.2d

at 669-70. At all material times, Barrington Trucking has been an eligible and covered employer

pursuant to the FLSA. 29 U.S.C. § 203(d).

          56.   Plaintiff routinely worked in excess of 40 hours per seven-day workweek for

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Barrington Trucking. When he worked such overtime hours for Barrington Trucking, Plaintiff was

entitled to overtime compensation at one and one-half times his respective regular rate of pay for

all hours worked over 40 in a workweek. 29 U.S.C. § 207(a)(1).

        57.     Barrington Trucking failed to pay Plaintiff overtime compensation at one and one-

half times his respective regular rates of pay for all hours worked over 40 in each and every seven-

day workweek during the time period relevant to this lawsuit.

        59.     Plaintiff seeks all damages available for Barrington Trucking’s violations of the

FLSA.

                     VI.   FLSA COLLECTIVE ACTION ALLEGATIONS

        60.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

         A.     FLSA Overtime Claim Collective Action

        61.     The FLSA Overtime Claim collective action includes Plaintiffs and the FLSA

Putative Collective Action Members, which are all current and/or former drivers similarly situated

to Plaintiffs who:

 (a) work/worked exclusively for Barrington Trucking in connection with Barrington Trucking’s

 operations performing the job duties of a truck driver; (b) worked off the clock hours for Barrington

 Trucking (c) work/worked more than 40 hours in any workweek in the relevant time period; (d)

 are/were not paid time and one-half their respective regular rates of pay for all hours worked over

 40 in each corresponding workweek by Barrington Trucking; and (e) were not paid for all hours

 worked.

        62.     All of the Putative Collective Action Members are similarly situated to Plaintiffs,

and to one another, within the meaning of Section 216(b) of the FLSA.


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       63.      The time period relevant to the claims of the Putative Collective Action Members

is three years preceding the date this lawsuit was filed and forward.

       64.      Where, as here, the employer’s actions or policies were effectuated on a

companywide basis, notice may be sent to all similarly situated persons on a companywide basis.

See Ryan v. Staff Care, Inc., 497 F. Supp. 2d 820, 825 (N.D. Tex. 2007) (certifying nationwide

collective action in FLSA case); see also, Jones v. SuperMedia Inc., 281 F.R.D. 282, 290 (N.D.

Tex. 2012) (same).

       65.      Plaintiff reserves the right to establish sub-classes and/or modify class notice

language as appropriate in any collective action certification motion or other proceeding relative to

the Putative Collective Action Members.

       66.      Plaintiff further reserves the right to amend the definition of the Putative Collective

Action Members or establish sub classes if discovery and further investigation reveal that the

putative class should be expanded or otherwise modified.

         B.     FLSA Minimum Wage Collective Action

       67.     The FLSA Minimum Wage collective action includes Norris and the FLSA Wage

Theft Putative Collective Action Members, which are all current and/or former truck drivers similarly

situated to Norris who: (a) work/worked exclusively for Barrington Trucking in connection with

Barrington Trucking’s operations performing the job duties of a truck driver; (b) worked off the clock

hours for Barrington Trucking (c) work/worked more than 40 hours in any workweek in the relevant

time period; (d) are/were not paid time and one-half their respective regular rates of pay for all hours

worked over 40 in each corresponding workweek by Barrington Trucking; and (e) were not paid for

all hours worked.




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         68.    All of the FLSA Minimum Wage Putative Collective Action Members are similarly

situated to Norris, and to one another, within the meaning of Section 216(b) of the FLSA.

         69.    The time period relevant to the claims of the FLSA Minimum Wage Theft Putative

Collective Action Members is, on information and belief, three years prior to the filing of this

Complaint. However, should discovery reveal a different relevant time period, Norris reserves the

right to re- define the relevant time period pursuant to an amended complaint and/or class motion.

         70.    Where, as here, the employer’s actions or policies were effectuated on a

companywide basis, notice may be sent to all similarly situated persons on a companywide basis.

See Ryan, 497 F. Supp. 2d at 825; Jones, 281 F.R.D. at 290.

         71.    Norris reserves the right to establish sub-classes and/or modify class notice

language as appropriate in any collective action certification motion or other proceeding relative to

the FLSA Wage Theft Putative Collective Action Members.

         72.    Norris further reserves the right to amend the definition of the FLSA Wage Theft

Putative Collective Action Members, or establish sub classes if discovery and further investigation

reveal that the putative class should be expanded or otherwise modified.

  VII.    TEXAS STATE LAW WAGE THEFT CLAIM CLASS ALLEGATIONS

         73.    Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

         74.    As common law employees under Texas Law, Norris and the State Law Wage Theft

Class Members seek recovery of all straight time wages owed by Defendants for the Texas State

Law Wage Theft Claim.

         75.    Alternatively, Norris and the State Law Wage Theft Class Members seek recovery

of all straight time wages and other damages owed by Defendants for the Texas State Law Wage


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Theft Claim under the Texas law principles of quantum meruit and/or money had and money

received.

       76.      Norris brings this Texas State Law Wage Theft Claim action on behalf of himself

and State Law Wage Theft Class Members. Norris seeks to represent a class initially defined as:

“all drivers who (a) worked exclusively for Barrington Trucking, with Barrington Trucking’s

knowledge of that work, during the time period of approximately end of 2015 to the present; (b)

expected to be paid a day rate for that work performed for Barrington Trucking; (c) but were not

paid wages for hours worked in that time period by Defendants (for of the clock work). Norris

requests the opportunity to expand, narrow, or modify the State Law Wage Theft Class Member

class definition, including sub-classes, pursuant to a motion for class certification and/or amended

complaint.

       77.      Norris’ and State Law Wage Theft Class Members claims satisfy the numerosity,

commonality, typicality, adequacy and superiority requirements of a class action. On information

and belief, there over 27 other workers who are and/or were victims of the Texas State Law Wage

Theft Claim. As such, joinder is impracticable. The precise number of Texas State Law Wage Theft

Claim class members and their addresses are readily determinable from the records of Defendants.

       78.      There are common questions of fact and law as to the class that predominate over

any questions affecting only individual class members. The questions of law and fact common to

the class arising from the Texas State Law Wage Theft Claim include, but are not limited to, the

following:

                a. Whether Norris and the State Law Wage Theft Class Members
                are entitled to recovery of unpaid straight wages and other damages
                from Defendants pursuant to Texas state law claims premised on
                quantum meruit and/or money had and money received; and

                b. The appropriate method to calculate damages owed Norris and
                the State Law Wage Theft Class Members by Defendants for
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                 violations of state law in connection with the Texas State Law Wage
                 Theft Claim.

       79.       The questions above predominate over any questions affecting only individual

persons, and a class action is superior with respect to considerations of consistency, economy,

efficiency, fairness and equity, to other available methods for the fair and efficient adjudication of

the Texas State Law Wage Theft Claim.

       80.       A class action is the superior method for the fair and efficient adjudication of this

controversy. Defendants have acted or refused to act on grounds generally applicable to the class.

The presentation of separate actions by individual class members could create a risk of inconsistent

and varying adjudications, establish incompatible standards of conduct for Defendants, and/or

substantially impair or impede the ability of class members to protect their interests.

       81.       Norris is victim of the Texas State Law Wage Theft Claim and is therefore a

member of the Texas State Law Wage Theft Class. Norris is committed to pursuing this action and

has retained counsel with extensive experience in prosecuting complex wage, employment, and

class action litigation. Accordingly, Norris is an adequate representative of the class and has the

same interests as all of its members. Furthermore, Norris’ claims are typical of the claims of all

members of the class, and Norris will fairly and adequately protect the interests of the absent

members of the class. Norris and his counsel do not have claims or interests that are adverse to the

class members.

       82.       Norris reserves the right to establish sub-classes and/or modify class notice

language as appropriate in any class action certification motion or other proceeding.

       83.       Norris further reserves the right to amend the definition of the putative class, or sub

classes therein, if discovery and further investigation reveal that the putative class should be

expanded or otherwise modified.

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                                      VIII.      JURY DEMAND

       85.     Plaintiff demands a jury trial.


                               IX.       DAMAGES AND PRAYER

       86.      Plaintiff asks that the Court issue a summons for Defendants to appear and answer,

and that Plaintiffs and the collective action and class action members be awarded a judgment against

Barrington Trucking for the following:

       a.     Certification of Plaintiffs’ FLSA Overtime Claims as a collective action with the
       requirement of notice of this lawsuit being provided to the putative collective action
       members;

       b.     Certification of Norris’ FLSA Minimum Wage Claims as a collective action with the
       requirement of notice of this lawsuit being provided to the putative collective action
       members;

       c.      Actual damages in the amount of unpaid overtime wages;

       d.      Actual damages in the amount of unpaid minimum wages;

       e.     Liquidated damages in an equal amount to unpaid overtime wages and/or minimum
       wages;

       f.      Post-judgment interest on the FLSA damages;

       g.      Costs;

       h.      Reasonable attorney’s/attorneys’ fees;

      i.      Certification of Norris’ Texas State Law Wage Theft Claims as a Rule 23 class action
naming Norris as the class representatives and the undersigned as class counsel;

      j.      All available damages for the Texas State Law Claims including pre-and post-
judgment interest; and

       k.      All other relief to which Plaintiff(s) and the putative collective action members
and/or putative class action members are justly entitled.




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                                                         Respectfully submitted,

                                                         /s/ William S. Hommel, Jr.
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